        Case 15-15439-amc       Doc 37 Filed 03/14/18 Entered 03/14/18 10:53:18              Desc Main
                                UNITEDDocument      Page 1 of 2 COURT
                                       STATES BANKRUPTCY
                                EASTERN DISTRICT OF PENNSYLVANIA


        In re:

            ADRIANNE DASH                                    15-15439


            Debtor(s)                                         Bankruptcy No.


                               NOTICE OF FINAL CURE PAYMENT AND
                             COMPLETION OF PAYMENTS UNDER THE PLAN

           Pursuant to Federal Bankruptcy Rule 3002.1(f), William C. Miller, Chapter 13 standing trustee,
   hereby gives notice that the debtor(s) in this matter (“debtor”) has completed all payments required to
   cure the default in the claim filed by the following creditor, and this claim has been paid in full:


        Creditor: BAYVIEW LOAN SERVICING                                 claim number: 3

            Within 21 days of the service of this Notice, in accordance with Federal Bankruptcy Rule
   3002.1(g), a creditor holding a claim secured by a security interest in the principal residence of debtor
   shall file and serve on debtor, counsel for debtor, and the standing trustee, a statement indicating
   whether (1) it agrees that debtor has paid in full the amount required to cure the default on the claim,
   and (2) debtor is otherwise current on all payments consistent with 11 U.S.C.§1322(b)(5). The statement
   shall itemize the required cure or post-petition amounts, if any, that the holder contends remain unpaid
   as of the date of the statement. The statement shall be filed as a supplement to the holder’s proof of
   claim and is not subject to Rule 3001(f).


                                                                          Respectfully submitted,

                                                                          /s/ William C. Miller
                                                                          William C. Miller, Esquire
                                                                          Chapter 13 Standing Trustee
                                                                          P.O. Box 1229
                                                                          Philadelphia, PA 19105
                                                                          215-627-1377




Dated            3/14/2018
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                                             STATES BANKRUPTCY
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          In re:
           ADRIANNE DASH                                                     15-15439


           Debtor(s)                                                         Bankruptcy No.

                                                CERTIFICATE OF SERVICE

            AND NOW, comes Jenean Tucker, from the office of William C. Miller, Esquire, Chapter 13
        standing trustee, and certifies that s/he served the attached Chapter 13 Standing Trustee’s Notice of
        Final Cure Payment and Completion of Payments Under the Plan on the following parties:

        A. at the address(es) listed below by first class mail, postage prepaid:
            Creditor
                    BAYVIEW LOAN SERVICING
                    4425 PONCE DE LEON BLVD
                    4425 PONCE DE LEON BLVD
                    CORAL GABLES            FL 33146-

            Debtor
                    ADRIANNE DASH

                    6804 DICKS AVENUE

                    PHILADELPHIA                     PA   19142-

        B. and by electronic service only:
            Debtor’s Attorney
                    BRAD J. SADEK ESQ
                    SADEK LAW OFFICE
                    1315 WALNUT STREET #502
                    PHILADELPHIA           PA             19107-


             U.S. Trustee
                    Frederic J. Baker, Esquire
                    Office of the U.S. Trustee
                    833 Chestnut Street, Suite 500
                    Philadelphia, PA 19107

                                                                     /s/ Jenean Tucker
                                                                     Office of William C. Miller, Esquire
                                                                     Chapter 13 Standing Trustee




Dated              3/14/2018
